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              EXHIBIT 13
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                                   Chapter 7
                     DELIVERY FACILITIES AND PROCEDURES

                                          GENERAL


700.        SCOPE OF CHAPTER
701.        DECLARATIONS OF FORCE MAJEURE
702.        CLEARING MEMBER DUTIES TO THE CLEARING HOUSE

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720.-759.   [RESERVED]
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761.-769.   [RESERVED]
770.        DELIVERY OBLIGATION TRANSFER PROCEDURES
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                    INTERPRETATIONS & SPECIAL NOTICES
                          RELATING TO CHAPTER 7

PRECIOUS METALS – STORAGE AND HANDLING FEES
BASE METALS – STORAGE AND HANDLING FEES
PRECIOUS METALS – DEPOSITORIES AND WEIGHMASTERS
PRECIOUS METALS – ASSAYERS
PRECIOUS METALS – CARRIERS
GOLD (GC) – BRANDS
GOLD (4GC) – BRANDS
GOLD KILO (GCK) – BRANDS
SILVER – BRANDS
PLATINUM – BRANDS
PALLADIUM – BRANDS
BASE METALS – WAREHOUSES AND WEIGHMASTERS
BASE METALS – ASSAYERS
COPPER – BRANDS
ALUMINUM – BRANDS
LEAD – BRANDS
ZINC – BRANDS
ULSD & RBOB GASOLINE – NY HARBOR REGISTERED DELIVERY TERMINALS
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                                            Chapter 7

                   DELIVERY FACILITIES AND PROCEDURES
                                             GENERAL
700.       SCOPE OF CHAPTER
           Deliveries and delivery facilities shall be governed by this chapter and, where applicable, the
           chapter which includes the contract specifications for the commodities being delivered and
           such other requirements as the Exchange may prescribe.
           For purposes of these Rules, unless otherwise specified, times referred to herein shall refer to
           and indicate New York time.
701.       DECLARATIONS OF FORCE MAJEURE
           If a determination is made by the Chief Executive Officer, Chairman, Chief Operating Officer,
           or Chief Regulatory Officer, or their delegate, that delivery or final settlement of any contract
           cannot be completed as a result of Force Majeure, he shall take such action as he deems
           necessary under the circumstances, and his decision shall be binding upon all parties to the
           contract.
           The Exchange shall notify the CFTC of the implementation, modification or termination of any
           action taken pursuant to this Rule as soon as possible after taking the action.
           It shall be the duty of members, clearing members, regular facilities and metals’ service
           providers to notify the Exchange of any circumstances that may give rise to a declaration of
           Force Majeure.
           Nothing in this Rule shall in any way limit the authority of the Board of Directors to act in a
           Force Majeure situation pursuant to Rule 230.k.
702.       CLEARING MEMBER DUTIES TO THE CLEARING HOUSE
           Every clearing member carrying open long or short positions shall present to the Clearing
           House each business day an accurate inventory of such open positions. The inventory of open
           long and short positions shall be reported to the Clearing House in such manner and at such
           times as the Clearing House may prescribe.
           A clearing member, carrying an account that is required to make or accept delivery, agrees to
           guarantee and assume complete responsibility for the performance of all delivery requirements
           set forth in the Rules, including the requirement that delivery margin must be deposited with
           the Clearing House in such amounts and in such form as required by the Exchange.
           In the event a clearing member fails to perform its delivery obligations to the Clearing House,
           such failure may be deemed a default pursuant to Rule 802. In a delivery failure, the Clearing
           House shall ensure the financial performance to the clearing member whose actions or
           omissions did not cause or contribute to the delivery failure (the “Affected Clearing Member”).
           In this regard, the Clearing House powers will include, but will not be limited to, the right to sell
           or liquidate the commodity subject to delivery and to distribute the proceeds as appropriate.
           “Financial performance” means payment of the commercially reasonable costs of the Affected
           Clearing Member related to replacement of the failed delivery and includes any related fines,
           penalties and fees incurred by the Affected Clearing Member and does not include physical
           performance or legal fees.
           An Affected Clearing Member seeking financial performance from the Clearing House shall
           provide prompt notice to the Clearing House of the delivery failure and a good faith estimate of
           any financial performance being sought no later than 1 hour after the delivery deadline for the
           respective product, which may be extended upon request by the Affected Clearing Member by
           the Global Head of Clearing & Post-Trade Services or their designee due to extenuating
           circumstances. As soon as reasonably practicable thereafter, the Affected Clearing Member
           seeking financial performance shall provide to the Clearing House a detailed statement, with
           supporting documentation, of all amounts sought.
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                        DELIVERY FACILITIES AND PROCEDURES

703.       DESIGNATION AND OBLIGATIONS OF METAL SERVICE PROVIDERS
           703.A. Conditions for Approval
           Depositories for the storage of gold, silver, platinum and/or palladium, and warehouses for the
           storage of aluminum, copper, lead and/or zinc, (hereafter “facilities”) may be declared regular
           for delivery with the approval of the Exchange. Persons operating facilities who desire to have
           such facilities made regular for delivery under the Rules of the Exchange shall make
           application for an initial Declaration of Regularity on a form prescribed by the Exchange prior to
           May 1 of an odd-numbered year, for a two-year term beginning July 1of that year, and at any
           time during the current term for the balance of that term.
           Applications for a renewal of regularity shall be made prior to May 1 of odd-numbered years for
           the respective years beginning July 1 of those years, and shall be on the same form.
           Facilities that desire to increase their regular capacity during a current term shall make
           application for the desired amount of total regular capacity on the same form.
           Initial regularity and increases in regularity for delivery against a listed futures contract shall be
           effective either thirty days after the Exchange posts a notice that a bona fide application has
           been received or the day after the application is approved by the Exchange, whichever is later.
           Regular facilities that wish to have their regular capacity space decreased shall file with the
           Exchange a written request for such decrease and such decrease shall become effective once
           a notice has been posted by the Exchange.
           The Exchange may establish such requirements and conditions for approval of regularity as it
           deems necessary. The application for regularity prescribed by the Exchange shall set forth
           conditions of regularity as well as other agreements with which the operator of the regular
           facility shall comply. In addition to any conditions and agreements contained in such
           application or in the relevant product chapter, the following shall constitute conditions for
           regularity and requirements with which the operator of a regular facility shall comply:
           (1) The facility shall provide such guarantees, bonds or other financial instruments to the
                 Exchange as may be required to guaranty the performance of its obligations pursuant to
                 these Rules and any conditions set forth in the conditions for approval.
           (2) On an annual basis, the facility shall provide the Exchange with copies of audited financial
                 statements of the facility, and its parent company (as applicable) within 90 days of the
                 firm’s year end. Financial statements must be audited in accordance with U.S. Generally
                 Accepted Accounting Principles or other international financial standards as deemed
                 acceptable by the Exchange. Additionally, the facility must provide the Exchange with
                 notice of any substantial reduction in capital as compared to the most recent filing of a
                 financial report.
           (3) No depository or copper warehouse shall be declared regular for the storage of a metal
                 unless it has in force and effect all-risk insurance against loss of the metal in such amount,
                 issued by such insurance companies, and upon such terms and conditions as are
                 satisfactory to the Exchange. No aluminum, lead or zinc warehouse shall be declared
                 regular for the storage of metal unless it has in force and effect warehouseman’s legal
                 liability insurance issued by such insurance companies and upon such terms and
                 conditions as are satisfactory to the Exchange.
                 All policies evidencing such facility insurance shall provide for at least ninety (90) days
                 prior written notice, to the Exchange, of cancellation, change in the policy terms and/or
                 premiums. The continued maintenance of such facility insurance shall be a condition to
                 the continued declaration of regularity. On an annual basis, all facilities must provide to
                 the Exchange documents sufficient to satisfy the Exchange that the required insurance is
                 in full force and effect.
           (4) The facility shall be open at all times to inspection by any representative of the Exchange,
                 the CFTC or the U.S. Department of Justice. The facilities shall make such reports, keep
                 such records, and permit such visitation as the Exchange and/or the CFTC may prescribe.
                 Such books and records shall be kept for a period of five (5) years from the date thereof or
                 for a longer period if the Exchange and/or the CFTC shall so direct, and such books and
                 records shall be available to inspection by any representative of the Exchange, the CFTC
                 or the U.S. Department of Justice.
           (5) The facility shall permit the Exchange, at any time, to examine any and all books and
                 records of the facility, for the purpose of ascertaining the stocks relating to metal which
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                may be on hand. The Exchange shall have the authority to determine the quantity of metal
                in the facility and to compare the books and records of the facility with the records of the
                Exchange.
            (6) The facility, at its sole cost and expense, shall have conducted by an independent auditor
                an annual audit of inventory and inventory reporting to the Exchange which shall be in
                compliance with the procedures established by the Exchange. Each audit report shall be
                filed with the Exchange within thirty (30) days of the date of the completion of the audit.
            (7) The facility shall be required to report inventory to the Exchange as prescribed herein. The
                inventory shall include eligible, pledged and registered metal. Eligible metal shall mean all
                such metal that is acceptable for delivery against the applicable metal futures contract for
                which a warrant has not been issued. Registered metal shall mean an eligible metal for
                which a warrant has been issued. Pledged metal shall mean registered metal for which
                the warrant that has been issued is on deposit at the Clearing House as performance
                bond. All information pursuant to this section shall be transmitted to the Registrar no later
                than 2:00 p.m., or as prescribed by the Registrar’s Office, for gold stock for delivery
                against the Gold Kilo futures contract, 6:00 p.m. local Hong Kong time, on the business
                day following the day on which the facility comes into possession of relevant information.
                In addition to containing all relevant information for the preceding business day,
                notifications pursuant to this section sent by 2:00 p.m., for gold stock for delivery against
                the Gold Kilo futures contract, 6:00 p.m. local Hong Kong time, on a Tuesday shall include
                all relevant information for the last business day as well as the Saturday and Sunday
                immediately preceding the Tuesday on which the notification is made.
                In addition, on a daily basis, the facility shall provide, in an Exchange-approved format, the
                following information regarding its stocks:
                a. The total quantity of registered metal stored at the facility.
                b. The total quantity of pledged metal stored at the facility.
                c. The total quantity of eligible metal stored at the facility.
                d. The quantity of eligible metal and registered metal received and shipped from the
                      facility.
            (8) All officers, directors, employees and agents of the facility shall be prohibited from
                revealing any information regarding customers who have dealings with the facility or
                regarding metal deposits or withdrawals to any persons or firms except as permitted by
                the Exchange.
                In the event the facility or any of its respective parent, subsidiaries or affiliates, engage in
                any trading activity, whether directly or indirectly, in the metals contract(s) for which the
                facility has received approval for regularity, the facility shall institute controls to protect the
                confidentiality of the users of the facility.
                On an annual basis, the facility, at its sole cost and expense, shall have conducted by an
                independent auditor acceptable to the Exchange, an annual audit of the controls in place
                between the regular facility and any party who engages in trading activity, whether directly
                or indirectly affiliated with the facility. Such audit shall be carried out in accordance with
                such standard as deemed acceptable by the Exchange. Such audit shall be filed with the
                Exchange upon completion of the audit, not to exceed 90 days from the firm's year-end.
            (9) The facility shall not engage in unethical or inequitable practices, and shall comply with all
                applicable federal, state and local laws and regulations and the Rules of the Exchange.
           (10) The facility is not required to own the storage space and may lease the storage space
                upon such terms and conditions as are satisfactory to the Exchange. The facility may also
                enter into a service arrangement pursuant to which an agent or contractor performs the
                daily operations of the storage facility upon such terms and conditions as are satisfactory
                to the Exchange. The facility shall be responsible for the conduct of its agents and
                contractors.
           (11) The depository shall provide a fully secured indoor facility for the storage of precious
                metal, as acceptable to the Exchange. The depository for gold, platinum and palladium
                must be accessible by armored car. The depository for gold deliverable against the Gold
                futures (GC) contract must qualify and be designated a weighmaster and must be located
                within a 150-mile radius of the City of New York. The depository for gold deliverable
                against the Gold (Enhanced Delivery) futures (4GC) contract must qualify and be
                designated a weighmaster and must be located within a 150-mile radius of the City of New
                York or in London, UK. The depository for gold deliverable against the Gold Kilo futures
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                (GCK) contract must be located in Hong Kong Special Administrative Region of the
                People’s Republic of China.
           (12) The warehouse regular for delivery of copper, lead and zinc shall provide a fully secured
                indoor facility for the storage of copper, lead and zinc, as acceptable to the Exchange.
                The warehouse regular for delivery of copper must have direct unobstructed access to
                both a truck bay and rail. The warehouse regular for delivery of aluminum must consist of
                designated indoor, outdoor, or both indoor and outdoor fully secured storage facilities. The
                warehouse regular for delivery of aluminum, lead and zinc must have direct unobstructed
                access for loading to truck and/or rail. The warehouse regular for delivery of aluminum,
                lead and zinc must also qualify and be designated a weighmaster.
           (13) Copper warehouses must be located in the Continental United States. Zinc, aluminum and
                lead warehouses can be located in the Continental United States, the European Union
                and/or Asia.
           (14) The facility shall promptly advise the Exchange of any damage to metal held in store by it,
                whenever such damage shall occur to an extent that will render the metal undeliverable.
                The Exchange, in its sole discretion, may determine not to approve facilities for regularity,
                or for increases in regular capacity of existing regular facilities, regardless of whether such
                facilities meet the preceding requirements and conditions. Some factors that the
                Exchange may, but is not required to, consider in exercising its discretion include, among
                others, whether warrants issued by such facilities, if tendered in satisfaction of futures
                contracts, might be expected to adversely affect the price discovery function of futures
                contracts or impair the efficacy of futures trading in the relevant market, or whether the
                currently regular capacity provides for an adequate deliverable supply.
                The Exchange shall designate and approve the metal brands deliverable against the
                metals futures contracts. Such brands must be produced by an Exchange approved
                producer and display the unique brand mark of the approved producer's specified facility
                that created such brand of metal.
                The Exchange shall designate and approve metal producers whose function shall be a
                refiner or smelter whose products meet all Exchange brand requirements and metals
                specifications as prescribed herein or in the respective metal futures contract rule
                chapters and are acceptable for delivery against the applicable metal futures contract. A
                current gold producer and current silver producer must also comply with current London
                Bullion Market Association (LBMA) Responsible Gold Guidance and Responsible Silver
                Guidance, respectively, in order for such gold producer and silver producer to obtain and
                maintain Exchange approval for delivery against any of the Exchange’s physically
                delivered gold and silver futures contracts. A current platinum producer and current
                palladium producer must also comply with current London Platinum and Palladium Market
                (LPPM) Responsible Platinum Guidance and Responsible Palladium Guidance,
                respectively, in order for such platinum and palladium producer to obtain and maintain
                Exchange approval for delivery against any of the Exchange’s physically delivered
                platinum and palladium futures contracts.
                The Exchange shall designate assayers for metals deliverable against the metals futures
                contracts. Exchange approved assayers shall verify the metallurgical assay of Exchange
                approved metal brands in order to maintain the integrity of said brands deliverable against
                the metal futures contracts. In the event that the metallurgical assay of any brand shall be
                questioned, the Exchange shall refer the matter to said assayers.
                The Exchange shall designate and approve an armored car company as a carrier whose
                function is to provide for the secure transportation of gold, platinum and palladium and
                shall maintain a chain of integrity for each such metal, as described in the applicable
                metals futures contract rule chapters.
                The Exchange shall designate and approve a weighmaster whose function is to verify the
                weight of registered aluminum, copper, lead, gold, silver and zinc.
                A service provider shall mean an assayer, carrier, producer, depository, warehouse or
                weighmaster designated, approved or declared regular by the Exchange. The Exchange,
                in its sole discretion, may determine not to approve service providers regardless of
                whether such service providers meet the preceding requirements and conditions.
                Service providers shall be subject to the Rules of the Exchange, the disciplinary
                procedures set forth in Chapter 4, and the arbitration procedures set forth in Chapter 6,
                and shall abide by and comply with the terms of any disciplinary decision imposed or any
                arbitration award issued against it pursuant to the Rules of the Exchange.
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               Service providers shall consent to the disciplinary jurisdiction of the Exchange for five (5)
               years after such regularity lapses, for conduct which occurred while the facility was
               regular.
               The service provider shall immediately notify the Exchange, in writing of any actual
               change in control or ownership.
               The service provider represents and warrants that all of the information in its application
               for approval or regularity is accurate. The service provider agrees that it has a continuing
               obligation to promptly notify the Exchange of any change in the information contained
               therein.
           703.B. Load-Out
           The facility represents and warrants that it shall schedule all shipments into or out of the facility
           on a first-come, first served, non-discriminatory basis and that it shall not constrain or promote
           the movement of registered metal and eligible metal into or out of the facility by:
           1. Giving exceptional inducements or imposing unreasonable charges for depositing, storage
               or removal of metal into or out of the facility; or
           2. Taking or failing to take any action that affects a customer’s ability to schedule the
               delivery or removal of metal from the facility.
           3. Failure to comply with the load out requirements as prescribed herein may subject a
               facility to Exchange disciplinary action.
           A. Load-Out Procedures for Precious Metals
               In the event that a depository has not permitted the load out of metal represented by a
               NYMEX or COMEX cancelled warrant within five (5) business days after such warrant has
               been cancelled for load out (all applicable charges paid) then the depository shall
               immediately notify the Exchange, in writing, of the reason(s) for the delay. Upon receipt of
               such notification, the Exchange, at its discretion, may direct the depository not to accept
               additional metal for deposit until the Exchange directs it to do otherwise.
               With the exception of gold deliverable against the Gold Kilo futures (GCK) contract, in the
               event that loading orders for precious metal represented by a NYMEX or COMEX
               cancelled warrant are received by the depository by the 20th day of the month, all precious
               metal represented by a NYMEX or COMEX cancelled warrant must be released for
               shipment no later than the close of business on the last day of that month, provided,
               however, that all storage charges are paid and warrant holder has presented the
               depository with all documents necessary to establish good title. If the depository fails to
               comply with the preceding sentence, the depository shall not charge the warrant holder for
               additional storage charges, provided, however, that the delay was not caused by the
               holder of a NYMEX or COMEX warrant cancelled for load out or their agent.
               For load-out of gold deliverable against the Gold Kilo futures (GCK) contract, the
               depository is required to ship out of the depository gold at a minimum guaranteed daily
               load out rate of 2,000 gold bars each weighing 1 kilogram (equivalent to 2,000 contract
               units) per day for each business day, unless such day is a Hong Kong general holiday. If
               the depository fails to comply with the gold delivery and load-out Rules as prescribed
               above, the depository shall not charge the warrant holder for additional storage charges,
               provided, however, that the delay was not caused by the holder of a COMEX warrant
               cancelled for load out or their agent.
           B. Load-Out Procedures for Base Metals
               In the event that a warehouse has not permitted the load out of aluminum, lead or zinc
               represented by a COMEX cancelled warrant within twenty (20) business days (five (5)
               business days for copper) after such warrant has been cancelled for load out (all
               applicable charges paid) or in the event the warehouse has not met the minimum daily
               load out requirement, then the warehouse shall immediately notify the Exchange, in
               writing, of the reason(s) for the delay. Upon receipt of such notification, the Exchange, at
               its discretion, may direct, in writing, the warehouse not to accept additional base metal for
               deposit until the Exchange directs it to do otherwise.
               If the warehouse fails to comply with the delivery and load-out Rules as prescribed herein,
               the warehouse shall not charge the warrant holder for additional storage charges,
               provided, however, that the delay was not caused by the holder of a COMEX warrant
               cancelled for load out or their agent.
               The warehouse shall be required to load out metal beginning on the third business day
               following receipt of loading orders or after a conveyance of the type identified in the
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               loading orders is constructively placed, whichever occurs later. For load out by rail, the
               warehouse shall be required to load out metal beginning on the third business day
               following receipt of loading orders or one business day after a rail car is constructively
               placed, whichever occurs later. Loading orders must be received no later than five
               business days after warrants are cancelled for load out. If loading orders are not received
               within five business days after warrants are cancelled for load out, the load out of such
               metal shall not be subject to the load-out Rules herein.
               The regular warehouse is required to ship out of the warehouse metal at a minimum
               guaranteed daily load out rate of 2% of total inventory, with a minimum daily load out rate
               of 1,000 metric tons, for each business day (via primary conveyance) for aluminum. In
               addition, the warehouse shall not be required to exceed the minimum daily load out rate of
               500 metric tons for zinc (via primary conveyance), 500 short tons for copper (truck and rail
               conveyance combined), unless otherwise prescribed in the Interpretations & Special
               Notices Related to Chapter 7, or 500 metric tons for lead (via primary conveyance).
               Preference is given to load out of metal represented by COMEX cancelled warrants (via
               primary conveyance for aluminum, lead and zinc). In the event the warehouse has load
               out orders for COMEX cancelled warrants representing multiple metal types, the
               warehouse shall load out each metal concurrently on a pro rata by commodity basis at
               their prescribed minimum load out rate. If the pro rata exceeds the minimum load out rate,
               the warehouse shall only be required to load out at the prescribed minimum load out rate.
               Total inventory shall be defined as the sum of all COMEX registered and eligible
               aluminum, lead, zinc and copper stored at the regular warehouse as reported to the
               Exchange on the first business day of the month.
               The warehouse shall transmit to the Registrar by 11:00 a.m. Central Prevailing Time, the
               name, location of regular facility, the number of warrants cancelled for load out (via
               primary conveyance for aluminum, lead and zinc) and associated loading orders on a daily
               basis. The Registrar shall maintain a current record of the number of warrants cancelled
               for load out (via primary conveyance for aluminum, lead and zinc) and shall be
               responsible for posting this record on the Exchange website.
               Alternate Load-Out Instructions via Alternate Conveyance for Aluminum, Lead and Zinc: A
               party may elect to load out via an alternate conveyance, if available. Load-out via
               alternate conveyance shall be subject to the minimum guaranteed daily load out rate as
               published under the Interpretations & Special Notices Related to Chapter 7 contingent on
               any pending load-out orders submitted prior to the load-out order via alternate conveyance
               and shall be conducted on a first-come, first served, non-discriminatory basis.
           703.C. Withdrawal or Revocation of Approved Status
           The Business Conduct Committee may revoke a declaration of regularity whenever a regular
           facility fails to comply with the conditions specified in this Chapter, any other conditions to
           which it has agreed in its application for regularity, or any other Exchange Rules.
           Unless a shorter notification period is otherwise authorized by the Exchange, a facility shall
           give six (6) months prior written notice to the Exchange prior to withdrawing from regularity.
           If the designation of a facility as regular is withdrawn or revoked, a notice shall be posted
           announcing such withdrawal or revocation and the period of time, if any, during which the
           warrants issued by such facility shall thereafter be deliverable in satisfaction of futures
           contracts under the Rules.
           If the facility withdraws or is revoked, the facility shall pay the cost of transferring all registered
           metal stored at the facility, to the closest facility having ample space to accept the registered
           metal. If any of the owners of the registered metal elect to have the registered metal
           transferred to a facility for metal other than as described in the preceding sentence, facility
           shall comply with the transfer request provided, however, that facility shall obtain
           reimbursement from the owner for costs and expenses in excess of those which it would incur
           in effecting the transfer pursuant to the preceding sentence.
           The Exchange, in its sole discretion, may revoke from approved status any assayer, brand,
           carrier, producer or weighmaster.
704.       STORAGE OF METALS
           704.A. Storage and Handling Charges
           In the event that a depository or warehouse wishes to change its maximum fees, the
           depository or warehouse shall make application for the desired change on a form prescribed
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            by the Exchange. The Exchange, in its sole discretion, may determine to not approve the
            requested changes.
            Increases to maximum fees for a depository or warehouse shall be effective ninety (90) days
            after the Exchange posts a notice that a bona fide application has been approved.
            The maximum storage and delivery out charges by a depository shall not exceed the following:




                                                 Maximum Storage          Maximum Delivery Out
                     Gold (GC)                              $15.00                         $35.00
                     (per contract)
                     Gold (Enhanced                         $15.00                         $35.00
                     Delivery) (4GC)
                     (per contract)
                     Gold Kilo (GCK)                          $6.50                        $12.50
                     (per contract)
                     Silver (SI)                              $8.50                        $35.00
                     (per bar)
                     Platinum (PL)                          $20.00                         $30.00
                     (per contract)
                     Palladium (PA)                         $20.00                         $30.00
                     (per contract)


            For larger platinum and palladium units (as defined in NYMEX Chapter 105 and 106),
            respectively), the maximum storage and delivery out charges shall be pro-rated from the above
            table based on the weight of the larger platinum or palladium unit. For 400 troy ounce bars
            deliverable against the Gold (Enhanced Delivery) futures contract, the maximum storage and
            delivery charges shall be pro-rated from the above table.


            704.B. Storage Limitations
            In the event a facility becomes unable to accept for delivery any metal, whether due to capacity
            limitations or any other reason, the facility shall immediately notify the Exchange, in writing, of
            such circumstance, describing in detail the relevant metal(s) affected and the status of such
            metal(s) stored therein.
            The facility shall not make a change that affects its ability or capacity to accept, process, ship
            or store metal without ninety (90) days prior written notice to the Exchange.
705.        METAL WARRANTS
            705.A. Procedures for the Issuance of Warrants
            A warrant shall mean a document of title under Article 7 of the Uniform Commercial Code
            (“UCC”) issued by a facility demonstrating that the referenced quantity of the covered metal,
            stored in the facility referenced thereon, meets the specifications of the applicable metal
            futures contract.
            All warrants issued by a facility must be issued in the name of the clearing member (warrant
            holder) and must be in a format approved by the Exchange. A clearing member shall retain
            documentation that allows the clearing member to take possession of metal and transfer
            possession to the owner of the metal. Warrants shall be lettered or numbered consecutively by
            each facility and no two warrants for the same metal shall bear an identical combination of
            letters and/or numbers. If letters are used, they must not exceed three (3) characters and if
            used in combination with numbers, they must precede the numbers. The numbers must not
            exceed 7 digits.
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            1.   Within three (3) business days from receipt of any metal at a facility, the facility must (a)
                 determine such metal's eligibility, (b) advise the owner if the metal is determined to be not
                 eligible, and (c) if requested by the owner and provided the metal meets the contract
                 specifications, issue a warrant. In addition, upon receipt of the 100 troy ounce gold bar by
                 the depository for delivery against the Gold futures contract or Gold (Enhanced Delivery)
                 futures contract, the depository shall weigh each 100 troy ounce gold bar in the lot
                 measured to 1/100 of a troy ounce (two decimal points). In accomplishing such
                 measurement, each bar shall be weighed to the nearest 1/1000 of a troy ounce (three
                 decimal points); weights of 4/1000 of a troy ounce or less shall be rounded down to the
                 nearest 1/100 of a troy ounce and weights of 5/1000 of a troy ounce or more shall be
                 rounded up to the nearest 1/100 of a troy ounce. If, due to capacity limitations or for any
                 other reason, a facility is unable to meet such requirements, the facility shall notify the
                 Exchange immediately and shall describe the reason(s) for such delay. Each 400 troy
                 ounce bar must be eligible for settlement in the wholesale London bullion market.
            2. In issuing a warrant, facility shall be responsible for (a) verifying that the metal meets all of
                 the specifications for the product in accordance with the product’s terms and conditions as
                 stated in the Exchange Rules, (b) verifying that the metal is of an approved brand, and (c)
                 entering all applicable information into the electronic delivery system. Additionally, in
                 issuing a warrant for delivery against the Gold Kilo futures contract, the depository must
                 confirm that the fineness, serial number and weight inscribed on the 1 kilogram gold bar
                 match the fineness, serial number and weight of the gold indicated on the bar list provided
                 by the approved producer.
            3. A warrant shall be an electronic document, that is a transferable record under the Uniform
                 Electronic Transactions Act or any comparable applicable law, and a document of title
                 under Article 7 of the UCC, in a form approved by the Exchange and issued in compliance
                 with this Rule, and shall be supported by such paper or other tangible documents as
                 specified in this Rule. The facility shall enter in the electronic delivery system a reference
                 to each paper or other tangible document(s) that is related to the warrant as specified in
                 this Rule.
            4. Except as permitted in the contract specification, warrants shall not be issued for more
                 than or less than one contract unit. Each contract unit shall be delivered from a single
                 facility. A warrant issued for aluminum shall be from a single brand and shall be made up
                 exclusively of the deliverable grades in one of the three shapes as prescribed in the
                 Aluminum futures contract Rules. A warrant issued for copper, lead or zinc shall be from
                 a single brand. A warrant may be issued for gold, silver, platinum or palladium that co-
                 mingles brands, provided such co-mingled brands are stored within the same facility.
            5. A warrant shall be of unlimited duration and remain valid until cancelled by the facility that
                 issued it.
            6. Notwithstanding anything to the contrary herein, any warrant that is on deposit with the
                 Clearing House as performance bond pursuant to Rule 820 may not be used to satisfy any
                 delivery obligations hereunder.
            7. The facility shall be solely responsible for insuring that no duplicate warrants are issued,
                 printed or released by it.
            8. In the event that any paper or other tangible document that supports a warrant has been
                 damaged, lost, stolen or destroyed, facility shall issue a replacement document upon
                 completion of its procedures for the replacement thereof.
            705.B. Procedures for the Cancellation of Warrants
            A warrant may be cancelled only by the facility that issued it and only upon endorsement from
            the clearing member to such facility in accordance with these Rules. Notwithstanding the
            foregoing, a warrant that is on deposit with the Clearing House as performance bond may not
            be cancelled until the warrant is released back to the Clearing Member with the consent of the
            Clearing House.
            Upon request to the clearing member by the owner of the metal for delivery of a metal, the
            clearing member shall endorse in the electronic delivery system with delivery instructions ("the
            account of") and shall, upon request by the owner, issue to the owner a physical confirmation
            of such endorsement.
            A facility shall have and maintain in fireproof secure document storage until five (5) years
            following cancellation of the applicable warrant, any documentation associated with such
            cancelled warrant as required by the metal futures contract.
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            705.C. Procedures for Insurance Claims
            A service provider shall promptly notify the Exchange of any claims it files against the
            insurance policy it maintains as a condition of regularity with respect to metal covered by an
            outstanding warrant issued under Exchange Rule 705. The service provider shall also
            promptly notify the Exchange of any proceeds that it receives from any such claim.

            Prior to using or disbursing the proceeds received, the service provider shall provide the
            Exchange with the opportunity to prescribe the manner in which the proceeds or a portion
            thereof are to be used or disbursed by the service provider to compensate the owner of
            registered metal for the loss of metal.

            If the Exchange prescribes the manner in which such proceeds are to be used or disbursed,
            then the service provider shall use or disburse the proceeds solely in the manner prescribed by
            the Exchange. To the extent any disbursement is prescribed by the Exchange, the service
            provider shall make payment to the owner of the registered metal or, at the service provider’s
            discretion, to such owner’s Clearing Member.

            Notwithstanding the above, the Exchange may in its sole discretion determine not to prescribe
            the manner in which such proceeds or a portion thereof are to be used or disbursed.


706.        METAL DELIVERY PROCEDURES
            Metal delivery procedures contained herein shall apply to all physically delivered metals
            contracts with the exception of gold deliverable against the Gold Kilo Futures contract.
            Delivery procedures for gold deliverable against the Gold Kilo Futures contract are provided in
            Chapter 114.
            A short clearing member may only commence the delivery procedures as detailed below with
            respect to a warrant that has been registered into the electronic delivery system. The delivery
            procedures for metals are as follows:
            706.A. Location of Delivery of the Metal
            1. Delivery of a metal shall be made from the short clearing member's choice of a facility.
            2. Except as otherwise provided in the Rules for each metal, all duties, entitlements, taxes,
                 fees and other charges imposed prior to delivery on or in respect to the product shall be
                 paid by the short clearing member. Delivery shall be made in accordance with applicable
                 Federal, State and local laws.
            706.B. Notice of Intention to Deliver
            1. Where any metal is sold for delivery in a specified month, delivery of such metal may be
                 made by the seller upon such business day during the designated delivery period as the
                 seller may select and, if not previously delivered, delivery must be made upon Last
                 Delivery Day as prescribed by the Rules of the Exchange.
                 A seller obligated or desiring to make delivery of a metal shall provide the Clearing House
                 with a delivery notice in the form and manner specified by the Clearing House.
                 Where a clearing firm has an interest both long and short for accounts on its own books, it
                 must tender to the Clearing House such notices of intention to deliver as it receives from
                 its accounts that are short. No office deliveries may be made by clearing members.
                 Unless a different time is prescribed by the Rules pertaining to a particular metal, delivery
                 notices must be delivered to the Clearing House by 7:00 p.m. on intent day (business day
                 immediately prior to the notice day) except that, on the last intent day of the delivery
                 month, delivery notices of intention may be submitted to the Clearing House until 1:00 pm
                 on last intent day. The last intent day shall be defined as the business day immediately
                 preceding the last business day of the delivery month. The Clearing House shall, on the
                 same day, assign the deliveries to eligible buyers.
                 Upon determining the buyers obligated to accept deliveries tendered by issuers of delivery
                 notices, the Clearing House shall promptly furnish to each issuer the names of the buyers
                 obligated to accept delivery for each metal for which a notice was submitted and shall also
                 inform the issuer of the number of contracts for which each buyer is obligated.
            2. The Notice of Intention to Deliver is not transferable.
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            706.C. Notice Day
            1. Notice Day shall be the day on which an Assignment Notification is issued by the Clearing
                 House to the long clearing member and the short clearing member. The first day during
                 which an Assignment Notification can be issued shall be the last business day of the
                 month prior to the delivery month and shall be referred to as “First Notice Day”. The last
                 day during which an Assignment Notification can be issued shall be the second last
                 business day of the delivery month and shall be referred to as “Last Notice Day”.
            2. The Assignment Notification shall specify the parties matched for delivery and the number
                 of contracts to be delivered. The invoice shall specify the brand, the warrant number, the
                 weight, the facility in which the metal is stored, the name of the short clearing member, the
                 name of the long clearing member, and the price of the metal for each corresponding
                 warrant.
            3. The Assignment Notification shall be issued by the Clearing House to the long clearing
                 member and the short clearing member upon completion of assignment.
            4. The Assignment Notification is not transferable.
            706.D. Settlement Price
            The settlement price at the close of business on the day the Notice of Intention to Deliver is
            provided to the Clearing House shall be the basis for delivery. In the event the Notice of
            Intention to Deliver is provided on the next to last business day of the delivery month, the
            settlement price shall be the settlement price at the close of business on the third to last
            business day (the previous day).
            706.E. Delivery Day
            The day on which the long clearing member takes possession of metal through its receipt of
            the warrant for the metal shall be referred to as "Delivery Day." Delivery may take place on any
            business day beginning on the first business day of the delivery month or any subsequent
            business day of the delivery month, but no later than the last business day of the current
            delivery month. Delivery payment will be made during the 7:45 a.m. collection cycle, or such
            other time as designated by the Clearing House. Thus, the cost of delivery will be debited or
            credited to the clearing firm’s settlement account. Long clearing members obligated to accept
            delivery must take delivery and make delivery payment and short clearing members obligated
            to make delivery must make delivery during the 7:45 a.m. settlement process, or at such other
            time designated by the Clearing House, on the day of delivery, except on banking holidays
            when delivery must be taken or made and delivery payment made during the 7:45 a.m.
            settlement process, or such other time designated by the Clearing House, on the next banking
            business day. Adjustments for differences between contract prices and delivery prices
            established by the Clearing House shall be made with the Clearing House in accordance with
            Exchange Rules, policies and procedures. Ownership of metal passes from the seller to the
            buyer upon the buyer’s delivery payment.
            706.F. Settlement of Storage and Handling Charges
            All metals must be delivered to the long clearing member with handling and storage charges
            paid up to and including the day of delivery, and the long clearing members may require the
            short clearing member to furnish satisfactory proof of payment thereof. Any storage charges
            prepaid by the short clearing member for a period extending beyond the Delivery Day (but not
            in excess of 30 days) shall be refunded by the long clearing member to the short clearing
            member on a pro rata basis for the unexpired term and an adjustment made upon the invoice.
            All storage and handling charges for all metals must be in U.S. Dollars. Where "in and out
            labor" charges have been paid as evidenced by the warrant receipt, or otherwise, the short
            clearing member shall be entitled to charge the long clearing member for one-half of such "in
            and out labor" charges; in other words, the long clearing member will have to assume the "out
            labor" charges.
707.        OBLIGATIONS IN METAL DELIVERY AND DISPUTE RESOLUTION
            1.   By the tender of a warrant for a metal duly endorsed for delivery in fulfillment of a metal
                 futures contract, the service provider shall be deemed to warrant that the metal meets the
                 deliverable product specifications set forth herein and in the applicable metal futures
                 contract rule ("Delivery Warranty"). Such Delivery Warranty shall remain in effect through
                 successive endorsements of the warrant for delivery on metal futures contracts. The
                 Delivery Warranty shall continue for the benefit of a clearing member who shall have
                 taken delivery of the metal in fulfillment of the metal futures contract(s), or in favor of such
                 clearing member's immediate customer.
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            2.   In the event that a clearing member or customer shall claim a breach of the Delivery
                 Warranty, the metal shall be immediately submitted to an assayer for sampling and
                 assaying. The expense of sampling and assaying shall, in the first instance, be borne by
                 the claimant. If the assayer shall determine a deficiency in quality, the claimant shall have
                 the right to recover the difference in the sampling and assaying and any cost of
                 replacement of the metal. The claimant may, at his option, proceed directly against the
                 service provider of the metal, as shown on the warrant upon an Exchange delivery without
                 seeking recovery from the immediate short clearing member of the metal futures contract.
                 If the service provider of the warrant satisfies the claim, intervening short clearing
                 members will be thereby discharged from liability to the claimant. If the claimant seeks
                 recovery from the immediate short clearing member, and his claim is satisfied by such
                 short clearing member, the party thus satisfying the claim will have a similar option to
                 claim recovery directly from the original short clearing member of the warrant or from the
                 party's immediately preceding short clearing member. Such claims as are in dispute
                 between members of the Exchange shall in each case be submitted to arbitration under
                 the Rules of the Exchange.
            3.   The liability of a short clearing member of a warrant as provided herein shall not be
                 deemed to limit the rights of such short clearing member against any person or party for
                 whose account the short clearing member acted in making delivery on a metal futures
                 contract, or any facility that warranted the metal for delivery of said metal futures contract.
                 If it shall be determined in such arbitration proceeding that any short clearing member of a
                 warrant or the person or party for whom such short clearing member acted was aware of
                 the breach of the Delivery Warranty or was involved in a plan or arrangement with the
                 original short clearing member (or his customer) to place such metal not meeting the
                 deliverable product specifications set forth herein and in the applicable metal futures
                 contract rule in a facility for use in deliveries of metal futures contracts, such short clearing
                 members shall not be entitled to recover from any prior short clearing member for the
                 breach of a Delivery Warranty.
            4.   The liability of a short clearing member of a warrant as provided herein shall not be
                 deemed to limit the rights of such short clearing member against any facility that
                 warranted the metal for delivery.
            5.   Any claim for damages arising between a long clearing member and a short clearing
                 member, as a result of a delivery pursuant to this Chapter, shall be governed by the
                 arbitration Rules of the Exchange.
            6.   All participants in the registration and delivery of metal including any facility, clearing
                 member and owner of registered metal acknowledge and agree that (i) any Exchange,
                 Clearing House or facility electronic documentation and record in connection with
                 registering metal and transferring warrants shall have the same validity as its paper
                 equivalent, (ii) such participants shall not contest the validity of such electronic
                 documentation and records and (iii) all such electronic documentation and records shall
                 be admissible in court or other tribunal as evidence without dispute by any participant.
708.        NEW YORK HARBOR ULSD AND RBOB GASOLINE DELIVERY TERMINALS
            708.A. Conditions for Approval
            New York Harbor ULSD and RBOB Gasoline terminals may be declared regular for delivery
            with the approval of the Exchange. Persons operating terminals who desire to have such
            terminals made regular for delivery under the Rules of the Exchange shall make application for
            an initial Declaration of Regularity on a form prescribed by the Exchange prior to May 1 of an
            even-numbered year, for a two-year term beginning July 1of that year, and at any time during
            the current term for the balance of that term.
            Applications for a renewal of regularity shall be made prior to May 1 of even-numbered years
            for the respective years beginning July 1 of those years, and shall be on the same form.
            Initial regularity and increases in regularity for delivery against a listed futures contract shall be
            effective either thirty days after the Exchange posts a notice that a bona fide application has
            been received or the day after the application is approved by the Exchange, whichever is later.
            Regular terminals that wish to have their regular capacity space decreased shall file with the
            Exchange a written request for such decrease and such decrease shall become effective once
            a notice has been posted by the Exchange.
            The Exchange may establish such requirements and conditions for approval of regularity as it
            deems necessary. The application for regularity prescribed by the Exchange shall set forth
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            conditions of regularity as well as other agreements with which the operator of the regular
            terminal shall comply. In addition to any conditions and agreements contained in such
            application or in the relevant product chapter, the following shall constitute conditions for
            regularity and requirements with which the operator of a regular terminal shall comply:
            1. Recordkeeping. Terminals shall make such reports, keep such records, and permit such
                  visitation as the Exchange and/or the CFTC may prescribe. Such books and records shall
                  be kept for a period of five (5) years from the date thereof or for a longer period if the
                  Exchange and/or the CFTC shall so direct, and such books, records and terminals shall
                  be open at all times to inspection by any representative of the Exchange, the CFTC or the
                  U.S. Department of Justice.
            2. The terminal shall not engage in unethical or inequitable practices, and shall comply with
                 all applicable Federal, State and local laws and regulations and the Rules of the
                 Exchange.
            3. Terminals shall be subject to the Rules of the Exchange, the disciplinary procedures set
                 forth in Chapter 4, and the arbitration procedures set forth in Chapter 6, and shall abide by
                 and comply with the terms of any disciplinary decision imposed or any arbitration award
                 issued against it pursuant to the Rules of the Exchange.
            4. Terminals shall consent to the disciplinary jurisdiction of the Exchange for five (5) years
                 after such regularity lapses, for conduct which occurred while the terminal was approved.
            5. The terminal shall promptly notify the Exchange of any damage or alteration to the
                 terminal that will hinder the terminal from performing its obligations with respect to delivery
                 of product.
            6. The terminal shall immediately notify the Exchange, in writing, of any actual change in
                 control or ownership.
            7. The terminal represents and warrants that all of the information in its application for
                 regularity is accurate. The terminal agrees that it has a continuing obligation to promptly
                 notify the Exchange of any change in the information contained therein.
            The Exchange, in its sole discretion, may determine not to approve terminals for regularity,
            regardless of whether such terminals meet the preceding requirements and conditions.
            708.B. Withdrawal or Revocation of Approved Status
            The Business Conduct Committee may revoke a declaration of regularity whenever a regular
            terminal fails to comply with the conditions specified in this Chapter, any other conditions to
            which it has agreed in its application for regularity, or any other Exchange Rules.
            Unless a shorter notification period is otherwise authorized by the Exchange, a terminal shall
            give six (6) months prior written notice to the Exchange prior to withdrawing from regularity.
            If the designation of a terminal as regular is withdrawn or revoked, a notice shall be posted
            announcing such withdrawal or revocation and also the period of time, if any, during which
            deliveries can be made through such terminal in satisfaction of futures contracts under the
            Rules of the Exchange.
709.-713.   [RESERVED]
714.        FAILURE TO DELIVER
            In the event a clearing member fails to fulfill its specific delivery obligations pursuant to
            Exchange Rules, the sole obligation of the Clearing House is to pay reasonable damages
            proximately caused by such delivery obligation failure, in an amount which shall not exceed the
            difference between the delivery price of the specific commodity and the reasonable market
            price of such commodity at the time delivery is required according to the Rules of the
            Exchange. The Clearing House shall not be obligated to: (1) make or accept delivery of the
            actual commodity; or (2) pay any damages relating to the accuracy, genuineness,
            completeness, or acceptableness of certificates, instruments, warehouse receipts, shipping
            certificates, or other similar documents; or (3) pay any damages relating to the failure or
            insolvency of banks, depositories, warehouses, shipping stations, or similar organizations or
            entities that may be involved with a delivery.
            Notwithstanding any provision of the Rules, the Clearing House has no obligation or liability to
            any clearing member or any other person relating to a failure to fulfill a delivery obligation
            unless it is notified by the clearing member that did perform, or was in a position to perform its
            delivery obligations, that a failure occurred, as soon as possible, but in no event later than 1
            hour after the delivery deadline for the respective product, which may be extended by the
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            Global Head of Clearing & Post-Trade Services or their designee pursuant to the provisions of
            Rule 702.
            If a clearing member does not fulfill its delivery obligations to another clearing member, it shall
            be responsible to the Clearing House for any damages incurred by the Clearing House as a
            result of such delivery obligation failure.
            A failure by a clearing member carrying a short futures position to tender a Delivery Notice on
            or before the time specified by the Clearing House on the last day on which such notice is
            permitted shall be deemed a violation of this Rule, except that the Global Head of Clearing &
            Post-Trade Services may, for good cause, extend the time to present such notice.
            Unexcused failure to make delivery shall be deemed an act detrimental to the interest or
            welfare of the Exchange. In addition to any penalties imposed as provided in Chapter 4, the
            Clearing House Risk Committee shall determine and assess the damages incurred by the
            buyer.
715.        FAILURE TO ACCEPT DELIVERY OR REMIT FULL PAYMENT
            Where a buyer to whom a delivery has been assigned by the Clearing House fails to take such
            delivery and make payment when payment is due, the seller tendering such delivery shall
            immediately notify the Clearing House. If a clearing member obligated to receive delivery fails
            to make full payment to the seller, the Clearing House shall debit the account of said clearing
            member an amount sufficient to complete the delivery.
            Failure to accept delivery or to remit full payment shall be deemed an act detrimental to the
            interest or welfare of the Exchange.
716.        DUTIES OF CLEARING MEMBERS
            Prior to the last day of trading in a physically delivered contract, each clearing member shall be
            responsible for assessing the account owner’s ability to make or take delivery for each account
            on its books with open positions in the expiring contract. Absent satisfactory information from
            the account owner, the clearing member is responsible for ensuring that the open positions are
            liquidated in an orderly manner prior to the expiration of trading.
717.        [RESERVED]
718.        CUSTOMER SUBSTITUTION IN THE EVENT OF CLEARING MEMBER
            BANKRUPTCY
            In the event that an "order for relief" as defined at CFTC Reg. 190.01(ee) has been entered in
            respect to a clearing member whose customer holds a futures contract or options contract that
            may only be liquidated by physical delivery and, as to such contract:
            1. trading has ceased on the date of the entry of the "order for relief;"
            2. notice of delivery has been tendered on or before the date of the entry of the "order for
                  relief;" or
            3. trading ceases before the trustee can liquidate the contract;
                 then, notwithstanding having been matched for delivery by the Clearing House, the
                 Clearing House shall allow the customer (if his identity can be readily ascertained and
                 verified) to be directly substituted for the debtor clearing member to the extent necessary
                 to complete delivery. None of the requirements for delivery, including notices, instructions,
                 payment, etc., shall be waived hereby. Moreover, substitution shall in no way relieve the
                 debtor clearing member of its obligations to the Clearing House and the opposite clearing
                 member in regard to any claims arising out of that delivery.
719.        INITIAL REGULARITY FOR DELIVERY AGAINST A NEW FUTURES CONTRACT
            Initial regularity for delivery against a new futures contract concurrent with the listing of such
            new futures contract shall be effective either fifteen days after the Exchange posts a notice that
            a bona fide application has been received or the day after the application is approved by the
            Exchange, whichever is later.
720.-759.   [RESERVED]
760.        DELIVERY PROCEDURES IN OTHER COMMODITIES
            All other commodities which do not have delivery provisions specified in this chapter shall be
            governed by the requirements of the relevant contract specification chapter.
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761.-769.      [RESERVED]
770.           DELIVERY OBLIGATION TRANSFER PROCEDURES
               A clearing member that carries a futures position in a physically delivered contract that has
               expired as the result of any party’s error, omission or outtrade discovered on or after the last
               day of trading may, with the consent of the account owner(s) or controller(s), transfer such
               position to an account with different beneficial ownership; provided, however, that the parties
               to an error or outtrade must exercise the utmost diligence to resolve the error or outtrade.
               Notice of delivery obligation transfers must be made to the Clearing House. Such transfers
               require that the Clearing House receive acceptance from an account(s) with different beneficial
               ownership and confirmation of the agreed upon transfer by the initiating party. Such
               confirmation must be submitted in writing on the form specified by the Clearing House. All
               positions transferred pursuant to this Rule shall take place at the final settlement price of the
               contract; however, this requirement does not prohibit cash adjustments between the parties to
               the transfer.
               Clearing member firms representing accounts that have transferred a trade pursuant to this
               Rule must correctly report the change in open interest to the Clearing House pursuant to the
               schedule established by the Exchange.
               In the event a delivery obligation transfer notification does not result in a trade transfer,
               delivery shall take place as required under Exchange Rules.
               Nothing in this Rule relieves a clearing member of its responsibilities with respect to open
               positions in an expiring contract month in a physically delivered contract as set forth in Rule
               716.
 771.          ALTERNATIVE NOTICE OF INTENTION TO DELIVER
               A seller and buyer matched by the Exchange may agree to make and take delivery under
               terms or conditions which differ from the terms and conditions prescribed by this Chapter, and
               the applicable chapter which contains the contract specifications for the products being
               delivered, and such other requirements as the Exchange may prescribe.
               In such instances, matched clearing members shall execute an Alternative Notice of Intention
               to Deliver (“ANID”) in the form and manner prescribed by the Exchange and shall deliver a
               completed and executed copy of such notice to the Exchange. The delivery of an executed
               ANID to the Exchange shall release the clearing members and the Exchange from their
               respective obligations under the rules of this Chapter and any other Exchange rules and
               requirements regarding physical delivery.
               In executing such notice, clearing members shall indemnify the Exchange against any liability,
               cost, or expense the Exchange may incur, for any reason, as a result of the execution, delivery
               or performance of such contract or such agreement, or any breach thereof or default
               thereunder. Upon receipt of an executed ANID, the Exchange will return to the clearing
               members all margin monies held for the account of each with respect to the contracts involved.


                                           ----------------------------
                            INTERPRETATIONS & SPECIAL NOTICES
                                  RELATING TO CHAPTER 7
Link to table is below:

Service Providers (xls)
